            Case 3:20-cv-01927-IM         Document 1    Filed 11/06/20   Page 1 of 16




KARL G. ANUTA (OSB #861423)
kga@integra.net
Law Office of Karl G. Anuta, P.C.
735 S.W. First Avenue, 2nd Floor
Portland, OR 97204
(503) 827-0320 | Phone
(503) 228-6551 | Fax

Local Counsel for Plaintiffs
JANETTE K. BRIMMER (WSB #41271)
jbrimmer@earthjustice.org
[Pro Hac Vice Pending]
Earthjustice
810 Third Avenue, Suite 610
Seattle, WA 98104
(206) 343-7340 | Phone
(206) 343-1526 | Fax

Attorney for Plaintiffs

                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         EUGENE DIVISION

WATERWATCH OF OREGON, PACIFIC                     )    Case No.
COAST FEDERATION OF FISHERMEN’S                   )
ASSOCIATIONS, INSTITUTE FOR                       )
FISHERIES RESOURCES, and                          )    COMPLAINT FOR
STEAMBOATERS,                                     )    DECLARATORY AND
                                                  )    INJUNCTIVE RELIEF
                          Plaintiffs,             )
                                                  )
       v.                                         )
                                                  )
WINCHESTER WATER CONTROL                          )
DISTRICT,                                         )

                  Defendant.
________________________________________




COMPLAINT FOR DECLARATORY AND                                               Earthjustice
INJUNCTIVE RELIEF -1-                                                       705 Second Ave., Suite 203
                                                                            Seattle, WA 98104
                                                                            (206) 343-7340
             Case 3:20-cv-01927-IM       Document 1      Filed 11/06/20      Page 2 of 16




                                         INTRODUCTION

        1.       This citizen suit, brought under the Endangered Species Act (“ESA”), 16 U.S.C.

§ 1540(g), seeks to enjoin the Winchester Water Control District, to compel the District to

provide adequate fish passage at the Winchester Dam on the North Umpqua River in Oregon.

        2.       Winchester Dam is owned and controlled by the Winchester Water Control

District.

        3.       The Winchester Dam on the North Umpqua River is causing “take” of Oregon

Coast coho salmon (“Coast coho”), which are listed as threatened under the ESA, in violation of

Sections 4(d) and 9 of the ESA. 16 U.S.C. §1533(d) and 1538(a)(1)(B). The Dam is causing

take of Coast coho by among other things: blocking adult salmon migration and access to

spawning habitat; harming or killing adult salmon in their efforts to traverse the dam to migrate

or spawn; harming or killing juvenile salmon by blocking safe out-migration from spawning and

rearing areas; harming or killing adult salmon by the state of disrepair of the fish ladder and dam

itself such that salmon are physically battered; and disrepair of the fish ladder including the use

of materials on the ladder that include compounds toxic to salmon.

                                   JURISDICTION AND VENUE

        4.       This Court has jurisdiction over this action pursuant to the ESA citizen suit

provision, 16 U.S.C. § 1540(g).

        5.       As required by 16 U.S.C. § 1540(g)(2)(A)(i), plaintiffs, WaterWatch of Oregon,

Pacific Coast Federation of Fishermen’s Associations, Institute for Fisheries Resources, and

Steamboaters, provided the defendant with notice of the violations described in this complaint by

letter dated April 6, 2020 and with an amended notice letter on July 13, 2020. Plaintiffs sent

both notices to the defendant by regular first class and certified U.S. mail, return receipt

requested, and by electronic mail to the District’s counsel, Mr. Dominic Carrollo. Plaintiffs also
                                                                            Earthjustice
COMPLAINT FOR DECLARATORY AND                                               810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 2 -                                                     Seattle, WA 98104
                                                                            (206) 343-7340
            Case 3:20-cv-01927-IM       Document 1       Filed 11/06/20      Page 3 of 16




provided a copy of each notice to the Secretary of Commerce, to the National Oceanic and

Atmospheric Association, and to the Oregon Department of Fish and Wildlife. More than 60

days have passed since defendant received both the original and amended notice and defendant

has not responded substantively to either notice.

       6.       Venue in this District and Division is proper under 16 U.S.C. § 1540(g)(3)(A), 28

U.S.C. § 1391, and Local Rule 3-2(a)(3), because North Umpqua River and Winchester Dam are

located in Douglas County, Oregon.

                                             PARTIES

       7.       WaterWatch of Oregon (“WaterWatch”) is a non-profit conservation organization

dedicated since 1985 to the protection and restoration of streamflows in Oregon’s rivers and

streams in order to sustain native fish, wildlife, and aquatic ecosystems as well as the people and

communities who depend on healthy rivers. WaterWatch is incorporated and has its

headquarters in the State of Oregon. WaterWatch has worked for over 35 years in river basins

around the State of Oregon to restore salmon and stream flows, including work to remove

significant fish passage barriers such as dams. WaterWatch has been instrumental in dam

removal and flow improvement throughout the State, using voluntary agreements, education, and

where necessary, litigation in order to protect rivers, their tributaries, and fish. The North

Umpqua River is an important salmon and steelhead river with 160 miles of high quality

spawning habitat above the Winchester Dam, and of particular concern to WaterWatch are Coast

coho salmon, listed as threatened under the ESA, and the impacts on Coast coho from habitat

alteration, degradation, and barriers such as dams. WaterWatch has approximately 1,000

members in Oregon.

       8.       WaterWatch members participate in recreational activities such as hiking,

backpacking, fishing, wildlife-viewing, and river and lake boating and kayaking throughout
                                                                            Earthjustice
COMPLAINT FOR DECLARATORY AND                                               810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 3 -                                                     Seattle, WA 98104
                                                                            (206) 343-7340
            Case 3:20-cv-01927-IM      Document 1       Filed 11/06/20     Page 4 of 16




Oregon, including in and along the Umpqua River. WaterWatch has standing based upon

injuries to its members’ interests caused by the Winchester Dam.

       9.       Plaintiff Pacific Coast Federation of Fishermen’s Associations (“PCFFA”) is a

coastwide trade organization of commercial fishing families that works to protect salmon and

salmon habitat from pollution and migration barriers and to promote restoration where salmon

habitat and health are degraded. PCFFA’s principal place of business is in San Francisco,

California, and an active Northwest Regional Office is also located in Eugene, Oregon. PCFFA

is the largest organization of commercial fishing families on the west coast. It consists of a

federation of 17 smaller commercial fishermen’s vessel owners’ associations, trade associations,

port associations, and marketing associations with membership throughout Washington, Oregon,

and California. PCFFA also has “at-large” members who are unaffiliated with any particular

fishermen’s association but have become individual members of PCFFA. Collectively, PCFFA

represents nearly 1,000 west coast commercial fishing family business operations. Many of

PCFFA’s members derive all or part of their income from the harvesting of salmon in or near

Oregon waters or salmon that originate in Oregon waters such as the North Umpqua River.

       10.      Salmon originating from the North Umpqua River migrate, once they reach the

ocean as juveniles, far south well into northern California waters and far north well into

Washington waters, and throughout Oregon waters, where they are available as adults that

intermingle in multiple ocean commercial fisheries in all three states. And while there is no

longer any directed commercial fishery on ESA-listed Coast coho, the abundance of Coast coho

can and does restrict the ability of our industry to harvest other, far more abundant salmon

species such as fall-run Chinook, under principles of “weak stock management” which govern all

intermingling salmon fisheries on the west coast. Under “weak stock management,” which is


                                                                          Earthjustice
COMPLAINT FOR DECLARATORY AND                                             810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 4 -                                                   Seattle, WA 98104
                                                                          (206) 343-7340
          Case 3:20-cv-01927-IM        Document 1       Filed 11/06/20     Page 5 of 16




required by both federal law and the scientific laws of sound conservation biology, it is the

conservation needs of the weakest of several intermingling salmon stocks at sea that create the

“quota cap” or legal limit on how many other fish of otherwise abundant stocks can be harvested.

Since Coast coho are now so weakened in abundance that they have had to become ESA-listed,

the low Coast coho abundances at sea act as a severe restriction on all other ocean salmon

fisheries, often prematurely closing down these other fisheries in order to conserve weak stock

Coastal coho. Fewer Coastal coho surviving the impacts of Winchester Dam only exacerbate

these already stringent allocation and ocean harvest restriction problems fishing families face up

and down the coastline.

       11.     PCFFA has standing through its port associations and individual members of

those associations whose interests are harmed and whose livelihoods are adversely affected by

the Winchester dam’s negative effects on salmon.

       12.     Institute for Fisheries Resources (“IFR”) is a California non-profit organization

that works to protect and restore salmon populations and the human economies that depend on

them by establishing alliances among fishing men and women, with government agencies, and

with concerned citizens. IFR advocates for reforms to protect salmon health and habitat

throughout the U.S. West Coast and has successfully advocated for dam removals, improved

pesticide controls, and enhanced marine and watershed conservation regulations throughout the

West Coast in order to protect inland salmon spawning and rearing habitat. IFR’s principle place

of business is in San Francisco, California, and IFR also maintains an active Northwest Regional

Office in Eugene, Oregon. Most of IFR’s at least 850 financial contributors are commercial

fishermen. IFR and PCFFA have common Board members, general membership, and staff;




                                                                          Earthjustice
COMPLAINT FOR DECLARATORY AND                                             810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 5 -                                                   Seattle, WA 98104
                                                                          (206) 343-7340
          Case 3:20-cv-01927-IM        Document 1       Filed 11/06/20     Page 6 of 16




however, IFR is a separate organization that focuses on marine resources protection and salmon

habitat conservation.

       13.     IFR has standing through its members that are directly and indirectly injured by

the Winchester dam’s negative effects on salmon runs.

       14.     Plaintiff Steamboaters is a member-based Oregon non-profit organization based

in Idleyld Park, Oregon, whose purpose and mission is to preserve, promote, and restore the

natural production of wild fish populations in the North Umpqua River and its tributaries

including the habitat for those fish populations, for present and future generations. Steamboaters

also actively work to preserve and protect the aesthetic values of the North Umpqua River and to

preserve, educate, and promote the sport, ethics, and traditions of fly-fishing on the North

Umpqua River. Steamboaters has a current membership of approximately 164 in Oregon.

       15.     Streamboaters has standing through its members who fish and recreate on and

generally enjoy the North Umpqua River whose interests are harmed by the Winchester Dam.

       16.     Defendant Winchester Water Control District is a quasi-municipal corporation

organized under the laws of Oregon, specifically ORS Chapter. 553. Defendant is the owner and

operator of the Winchester Dam on the North Umpqua River in Oregon.

                                        BACKGROUND

       17.     Coast coho are listed as a threatened species under the Endangered Species Act.

50 C.F.R. 223.102. Coast coho were first proposed for listing in July of 1995, 60 Fed. Reg.

38011 (July 25, 1995), and first listed as threatened in May of 1997. 62 Fed. Reg. 24588 (May

6, 1997). The listing was reaffirmed in June of 2005. 70 Fed. Reg. 37160 (June 28, 2005).

       18.     Coast coho salmon populations have overall declined precipitously over the past

several decades. Habitat degradation, including blocked or decreased access to habitat and

blocked or decreased ability to migrate to and from spawning grounds in tributary streams due to
                                                                          Earthjustice
COMPLAINT FOR DECLARATORY AND                                             810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 6 -                                                   Seattle, WA 98104
                                                                          (206) 343-7340
          Case 3:20-cv-01927-IM        Document 1       Filed 11/06/20     Page 7 of 16




man-made or man-caused obstacles, has been a major factor in the decline. In proposing to list

Coast coho salmon as threatened under the ESA, the National Marine Fisheries Services

(“NMFS”) found that dams and the effects associated with dams such as sedimentation, loss of

habitat connectivity, impairment of juvenile and adult migration, injury during migration,

impairment of juvenile rearing, and increased stream temperatures were all factors contributing

to the decline and supporting the listing of Coast coho salmon as threatened.

       19.     The North Umpqua River’s headwaters are in the Umpqua National Forest. The

River is a prized salmon and steelhead stream. It joins with the South Umpqua a few miles

below the Winchester Dam near Roseburg, Oregon and there flows to the ocean. Below the

dam, the North Umpqua River is popular for fishing, boating, and it is a drinking water source

for the City of Roseburg and the Umpqua Basin Water Association.

       20.     The North Umpqua River is habitat for a variety of anadromous fish, including

Coast coho. Areas of the North Umpqua River above the Winchester Dam and its reservoir are

prime salmon and steelhead habitat, with up to 160 miles of high-quality habitat above the dam.

       21.     In its 2014 Final Recovery Plan for Coast coho, NMFS identifies barriers such as

dams as having a highly negative impact on Coast coho recovery.

       22.     The North Umpqua River is critical habitat for Coast coho salmon, including the

river surrounding Winchester Dam.

       23.     Winchester Dam was originally constructed in 1890 as a wood crib dam with an

original height of 4 feet. In 1907 the dam was raised to 16 feet and it was later faced with

concrete. The 450 foot long dam completely spans the North Umpqua River.

       24.     Winchester Dam provides recreation for homeowners around the reservoir created

by the dam. There is no valid water right for water storage for the reservoir. Historical records


                                                                          Earthjustice
COMPLAINT FOR DECLARATORY AND                                             810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 7 -                                                   Seattle, WA 98104
                                                                          (206) 343-7340
            Case 3:20-cv-01927-IM       Document 1       Filed 11/06/20     Page 8 of 16




show no storage or reservoir rights ever issued for Winchester Dam, though the dam does store

water. A water right claim, with a priority date of 1900 for recreational use of water, was filed

by defendant over a century after the dam’s original construction for power generation, but that

claim has never been adjudicated. According to the water right claim filed by defendant with the

Oregon Water Resources Department, Winchester dam and its reservoir are today maintained

solely for recreation purposes. The amount of water actually stored by the dam appears, at least

at times, to be inconsistent with the amount listed in the claim filed by defendant.

       25.      The Winchester dam is a passage impediment and hazard for migrating adult and

juvenile Coast coho and other salmon and steelhead on the North Umpqua.

       26.      In 1945 a fish ladder was added to the North side of the dam with upgrades in

1964 and the early 1980s.

       27.      The fish ladder is a concrete structure designed primarily as a pool and weir

design with distinct steps in the water surface elevation. There is a high flow entrance to the

ladder and a low flow entrance. The low flow entrance is the primary entrance during most of

the year.

       28.      The top of the fish ladder opens into a low-velocity area of the reservoir

immediately upstream of the dam crest.

       29.      The fish ladder does not meet the criteria, rationale and guidelines for design of

adequate safe, timely, and efficient fish passage published by National Marine Fisheries Service

(“NMFS”) and as set forth in Oregon Department of Fish and Wildlife (“ODFW”) Oregon

Administrative Rules (OAR), Section 635-412-005 et seq, particularly OAR 635-412-0035.

       30.      The fish ladder fails to meet criteria and requirements for fish passage flows,

design geometry, and energy dissipation factor, among others.


                                                                           Earthjustice
COMPLAINT FOR DECLARATORY AND                                              810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 8 -                                                    Seattle, WA 98104
                                                                           (206) 343-7340
          Case 3:20-cv-01927-IM          Document 1       Filed 11/06/20      Page 9 of 16




       31.     The dam and fish ladder also fail to meet criteria and requirements due to

numerous false attraction flows attributable to both the design of the ladder and leakage through

the face of the dam.

       32.     The placement of the fish ladder on the far north side of the dam near bedrock in

the river makes it difficult for fish to find. That placement also results in injury to fish from

falling to the bedrock, when attempting to navigate the inadequate ladder.

       33.     There is no dedicated downstream fish passage for juveniles, meaning that they

either must somehow find the fish ladder or they must go over the top of the dam. Juveniles

going over the face of the dam near or at the location of the bedrock are likely injured on the

bedrock below.

       34.     The inadequate design and placement of the fish ladder and the false attraction

flows at the dam face causes delay, harm, injury, and stress that adversely affect spawning and

migration in Coast coho salmon.

       35.     Winchester dam and the ladder are also in a state of disrepair and in further

deteriorating condition. The dam has consistently, and continues to date, experienced significant

leakage through the dam structure itself and in particular in an area of the dam immediately next

to the fish ladder. The disrepair contributes to and exacerbates the inadequacy and harmful

effects of the fish ladder and Winchester dam on Coast coho salmon.

       36.     ODFW has noted that Winchester dam’s current condition significantly hinders

upstream passage for Coast coho salmon and the fish ladder does not meet current criteria for

jump heights, water velocities, or attraction flows. As a result, ODFW has also noted that

upstream adult passage at Winchester Dam is only possible under certain specific ideal flow

conditions.


                                                                             Earthjustice
COMPLAINT FOR DECLARATORY AND                                                810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 9 -                                                      Seattle, WA 98104
                                                                             (206) 343-7340
         Case 3:20-cv-01927-IM        Document 1       Filed 11/06/20    Page 10 of 16




       37.     Materials used in repairs or updates to the fish ladder and dam appear to include

materials or chemical compounds such as those found in treated wood that are hazardous to

salmon, including Coast coho salmon.

       38.     Attempts to repair the deteriorating Winchester dam and ladder have themselves

harmed Coast coho salmon. For example, in 2018, ODFW documented a fish kill resulting from

attempts to repair a large hole under the dam. NMFS subsequently informed ODFW that based

in the information ODFW collected, harm to Coast coho salmon could be assumed. The Oregon

Department of Environmental Quality (“DEQ”) then investigated and determined that the

defendant’s repairs - which took place during Coast coho salmon migration - violated state water

quality standards and caused pollution, killing fish and other aquatic species. DEQ issued a civil

penalty in connection with the repairs, because the North Umpqua River is important habitat for

threatened Oregon Coast coho salmon and several other sensitive species.

       39.     The 2018 dam repair work, as well as repairs in 2013, 2009, 2006 and 1999, was

done with no permits under either the Endangered Species Act, or the Clean Water Act, or state

water quality laws.

       40.     Defendant is maintaining a dam and causing water to be stored behind a dam for

which they have no valid storage or diversion right under Oregon water law. Under Oregon law,

specifically ORS 537.130, ORS 537.211, and ORS 537.400-407, a person may not construct a

dam or other obstruction for water diversion or storage without first applying for and receiving a

valid water right.

       41.     Oregon’s fish passage statutes, ORS 509.585(2) & ORS 509.610(3), require that

defendant remove or provide adequate fish passage over Winchester Dam.




                                                                         Earthjustice
COMPLAINT FOR DECLARATORY AND                                            810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 10 -                                                 Seattle, WA 98104
                                                                         (206) 343-7340
         Case 3:20-cv-01927-IM         Document 1       Filed 11/06/20      Page 11 of 16




       42.      In 2019, ODFW updated its list of priorities for fish barriers that are a problem

and need improvement. ODFW identified the Winchester Dam on North Umpqua River as a

barrier and hazard for fish, such as listed Coast coho, and identified Winchester Dam as a

“Group 1” priority, placing it as the second highest priority privately-owned barrier statewide for

enforcement actions based on the needs of native migratory fish.

       43.      The Winchester Dam is causing take of Coast coho by one or more of the

following:

              blocking and/or delaying adult salmon migration and access to spawning habitat;

              harming or killing adult salmon in their efforts to traverse the dam to migrate or

                spawn;

              harming or killing juvenile salmon by blocking and/or delaying out-migration

                from spawning and rearing areas;

              harming or killing adult salmon by the state of disrepair of the fish ladder and/or

                the dam itself such that salmon are physically battered, impaled or injured on

                parts of the dam and ladder; and

              harming or killing adult salmon through the disrepair of the fish ladder including

                the use of materials on the ladder that include compounds toxic to salmon.

       44.      Douglas County property records show the Winchester Dam is owned, operated,

and controlled by defendant.

                                      CAUSES OF ACTION

                                COUNT I (Take Of Listed Species)

       45.      Plaintiffs restate and reallege all preceding paragraphs.




                                                                            Earthjustice
COMPLAINT FOR DECLARATORY AND                                               810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 11 -                                                    Seattle, WA 98104
                                                                            (206) 343-7340
         Case 3:20-cv-01927-IM         Document 1      Filed 11/06/20      Page 12 of 16




       46.     The ESA prohibits any person from “taking” an endangered species. 16 U.S.C. §

1538(a)(1)(B). The ESA defines “take” as “to harass, harm, pursue, hunt, shoot, wound, kill,

trap, capture, or collect or attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).

       47.     By regulation, NMFS has defined “harm” to include:

       Significant habitat modification or degradation which actually kills or injures fish
       or wildlife by significantly impairing essential behavioral patterns, including
       breeding, spawning, rearing, migrating, feeding or sheltering.

50 C.F.R. § 222.102. “Harassment” includes unintentional acts that make it more difficult for an

endangered species to breed, feed, shelter, reproduce or raise its offspring. H.R. Rep. No. 412,

93rd Cong. 1st Sess. at 11 (1973); 50 C.F.R. § 17.3.

       48.     NMFS has also determined that its definition of “harm” is consistent with the

definition of “harm” in regulations promulgated by the U.S. Fish and Wildlife Service which

definition includes failure to act where a person has a duty to do so in order to avoid or prevent

the harm.

       49.     Under Section 4(d) of the ESA, 16 U.S.C. § 1533(d), NMFS has the authority to

issue regulations extending the take prohibition to threatened species. NMFS has adopted a

regulation pursuant to Section 4(d) making the take prohibition applicable to Coast coho salmon.

50 C.F.R. § 223.203. Under 16 U.S.C. § 1538(a)(1)(G), it is unlawful to take threatened Coast

coho salmon in violation of the Section 4(d) regulation.

       50.     The ESA take prohibition applies to all “persons.” 16 U.S.C. § 1538(a)(1). The

ESA defines a “person” to include an individual, corporation, partnership, trust, association or

any other private entity. 16 U.S.C. § 1532(13). The defendant in this case is a “person” as

defined by the ESA.




                                                                          Earthjustice
COMPLAINT FOR DECLARATORY AND                                             810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 12 -                                                  Seattle, WA 98104
                                                                          (206) 343-7340
         Case 3:20-cv-01927-IM         Document 1       Filed 11/06/20      Page 13 of 16




       51.     The ESA citizen suit provision authorizes suits to enforce the ESA and its

implementing regulations against any person who is alleged to be in violation of any provision of

the ESA or regulations implementing the ESA. 16 U.S.C. § 1540(g).

       52.     Defendant, as the owner of Winchester Dam, has violated and continues to violate

the take prohibitions in Section 9 of the ESA by failing to remove the dam or provide adequate

fish passage at the dam as required by Oregon law, which failure has caused and continues to

cause harm, harassment, injury and death to Coast coho salmon.

       53.     Defendant is maintaining a dam and causing water to be stored behind a dam for

which they have no valid storage or diversion right under Oregon water law. Under Oregon law

a person may not construct a dam or other obstruction for water diversion or storage without first

applying for and receiving a valid water right. See generally ORS §§ 537.130, 537.211, and

537.400-407.

       54.     Oregon’s fish passage statute requires that defendant remove or provide adequate

fish passage over Winchester Dam. See ORS 509.585(2) (“a person owning or operating an

artificial obstruction may not construct or maintain any artificial obstruction across any waters of

this state that are inhabited . . .by native migratory fish without providing passage for native

migratory fish”); and ORS 509.610(3) (“A person owning or operating an artificial obstruction is

responsible for maintaining, monitoring, and evaluating the effectiveness of fish passage or

alternatives to fish passage”).

       55.     Defendant’s failure to either provide adequate fish passage or to remove

Winchester Dam is the proximate cause of unlawful take of Coast coho.

       56.     Defendant is liable for the unlawful take of Coast coho salmon in North Umpqua

River and plaintiffs are entitled to an Order enjoining defendant from continued take of Coast


                                                                           Earthjustice
COMPLAINT FOR DECLARATORY AND                                              810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 13 -                                                   Seattle, WA 98104
                                                                           (206) 343-7340
         Case 3:20-cv-01927-IM         Document 1        Filed 11/06/20      Page 14 of 16




coho salmon, requiring either removal of the dam or provision of adequate fish passage with

repairs to the dam adequate to end and prevent ongoing harm to fish.

       57.     Plaintiffs are entitled to recovery of their attorney fees and litigation expenses for

preparing and bringing this litigation, pursuant to 16 U.S.C. § 1540(g)(4).

                        COUNT II—(Intentional Take Of Listed Species)

       58.     Plaintiffs restate and reallege all preceding paragraphs.

       59.     Defendant has on several occasions been informed that the Winchester Dam is

killing and injuring salmon that are listed as threatened under the ESA.

       60.     Defendant has been approached several times, most recently by plaintiff

WaterWatch, with requests and offers of assistance for removal of the Winchester Dam.

       61.     Defendant has refused to remove the dam, has failed to remove the dam, and has

failed to provide adequate fish passage at Winchester Dam.

       62.     Defendant is intentionally maintaining a structure that kills and injures Coast coho

salmon in violation of 16 U.S.C. § 1538. These intentional acts are the proximate cause of

unlawful take of Coast coho salmon.

       63.     Defendant is liable for the intentional unlawful take of Coast coho salmon in

North Umpqua River and plaintiffs are entitled to an Order enjoining defendant from continued

take of Coast coho salmon, including requiring the removal of the dam or provision of adequate

fish passage with repairs to the dam adequate to end and prevent ongoing harm to fish.

       64.     Defendant is, as a result of its intentional take actions, liable for civil penalties

pursuant to 16 U.S.C. § 1540(a).

                                     REQUEST FOR RELIEF

       WHEREFORE, plaintiffs request an order from this Court:


                                                                             Earthjustice
COMPLAINT FOR DECLARATORY AND                                                810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 14 -                                                     Seattle, WA 98104
                                                                             (206) 343-7340
         Case 3:20-cv-01927-IM          Document 1     Filed 11/06/20     Page 15 of 16




       A.      Declaring that defendant has violated the salmon 4(d) rule, 50 C.F.R. § 223.203

and the Endangered Species Act, 16 U.S.C. § 1538(a)(1)(G), and 1538(1)(B) by failing to

provide adequate fish passage at the Winchester Dam and/or by failing to remove the Winchester

Dam;

       B.      Enjoining defendant from continuing to maintain the Winchester Dam in a

manner that violates section 9 of the Endangered Species Act, 16 U.S.C. § 1538(a)(1)(G), and

1538(1)(B), because of defendant’s failure to provide adequate fish passage and requiring either

removal of Winchester Dam or construction of adequate fish passage as defined by the most

recent NMFS and ODFW criteria and the best commercially available fish passage science and

engineering criteria with repairs to the dam adequate to end and prevent ongoing harm to fish,

within 6 months of the court’s order;

       C.      Enjoining defendant from continuing to use Winchester Dam to store water in the

reservoir created by the dam without a permit in a manner that violation section 9 of the

Endangered Species Act, 16 U.S.C. § 1538(a)(1)(G), and 1538(1)(B), and requiring either

removal of the dam or adequate fish passage with repairs to the dam adequate to end and prevent

ongoing harm to fish;

       D.      Imposing civil penalties on defendant for violations of section 9 of the

Endangered Species Act pursuant to 16 U.S.C. § 1540(a);

       D.      Awarding plaintiffs their costs and attorneys’ fees pursuant to 16 U.S.C. §

1540(g)(4); and

       E.      Granting such other and further relief as the court deems just and equitable.




                                                                         Earthjustice
COMPLAINT FOR DECLARATORY AND                                            810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 15 -                                                 Seattle, WA 98104
                                                                         (206) 343-7340
     Case 3:20-cv-01927-IM       Document 1      Filed 11/06/20    Page 16 of 16




    Respectfully submitted this 6th day of November, 2020.


                                        s/ Karl G. Anuta                                 _
                                        KARL G. ANUTA (OSB #861423)
                                        kga@integra.net
                                        Law Office of Karl G. Anuta, P.C.
                                        735 S.W. First Avenue, 2nd Floor
                                        Portland, Oregon 97204
                                        (503) 827-0320 | Phone
                                        (503) 228-6551 | Fax

                                        Local Counsel for Plaintiffs


                                        JANETTE K. BRIMMER (WSB #41271)
                                        jbrimmer@earthjustice.org
                                        [Pro Hac Vice Pending]
                                        Earthjustice
                                        810 Third Avenue, Suite 610
                                        Seattle, WA 98104
                                        (206) 343-7340 | Phone

                                        Attorneys for Plaintiffs




                                                                   Earthjustice
COMPLAINT FOR DECLARATORY AND                                      810 Third Ave., Suite 610
INJUNCTIVE RELIEF - 16 -                                           Seattle, WA 98104
                                                                   (206) 343-7340
